Case 1:18-cv-25337-KMM Document 1 Entered on FLSD Docket 12/19/2018 Page 1 of 6




                         UNITED STATES DISTRICT COURT FOR
                         THE SOUTHERN DISTRICT OF FLORIDA

  ANTONIO CABALLERO,

         Plaintiff,

  vs.                                                Case No: _________________________

  FUERZAS ARMADAS
  REVOLUCIONARIAS DE COLOMBIA, a/k/a
  FARC-EP a/k/a REVOLUTIONARY ARMED
  FORCES OF COLOMBIA; EJERCITO DE                    JURY TRIAL DEMANDED
  LIBERACION NACIONAL a/k/a ELN a/k/a
  NATIONAL LIBERATION ARMY; and THE
  NORTE DE VALLE CARTEL,

        Defendants.
  ___________________________________/




                                         COMPLAINT

        COMES NOW the Plaintiff, ANTONIO CABALLERO (“Plaintiff”), and files this action

 and sues defendants FUERZAS ARMADAS REVOLUCIONARIAS DE COLOMBIA, a/k/a

 FARC-EP, a/k/a/ FARC, a/k/a REVOLUTIONARY ARMED FORCES OF COLOMBIA

 (“FARC”); EJERCITO DE LIBERACION NACIONAL a/k/a ELN a/k/a NATIONAL

 LIBERATION ARMY (“ELN”); and THE NORTE DE VALLE CARTEL, a/k/a NDVC, a/k/a

 North Valley Cartel (“NDVC”).



                          INTRODUCTION AND BACKGROUND

        1.      This is an action for remedy pursuant to 18 USC § 2333, which is part of what is

 commonly referred to as the “Anti-Terrorist Act” (referred to herein as the “ATA”).




                                                1
Case 1:18-cv-25337-KMM Document 1 Entered on FLSD Docket 12/19/2018 Page 2 of 6




           2.   Plaintiff brought an action in the Circuit Court for the Eleventh Judicial Circuit in

 and for Miami-Dade County, Florida (the “State Court”), in Case No. 12-48803-CA-02 against the

 same defendants herein, FARC, ELN and NDVC (the “State Court Action”), suing for (among

 other things) the Defendants’ extra-judicial kidnapping, torture and killing of Plaintiff’s father for

 the purpose of facilitating the trafficking and distribution of illicit drugs throughout the United

 States.

           3.   Thereafter, Plaintiff became a citizen of the United States, and thus a national of

 the United States pursuant to 18 U.S.C. § 2331(1)(C), as defined in Section 101(a)(22) of the

 Immigration and Nationality Act.

           4.   A default was entered against all three Defendants for failing to appear or respond.

 On November 18, 2014, after a trial, the Honorable Lisa S. Walsh entered a final judgment

 (hereafter, “Final Judgment,” abbreviated “FJ”) on all counts against all Defendants, jointly and

 severally, in favor of the Plaintiff. A certified copy of the Final Judgment is attached herewith as

 Exhibit A.

           5.   The Court in the Final Judgment made the following findings:

                 a.     Defendants are criminal narco-terrorist organizations from the jungles and

 mountains of Colombia. (FJ, ¶¶ 1-3.) Each is a “terrorist party” within the meaning of Section

 201 of TRIA. (FJ, p. 89.)

                 b.     The Plaintiff, his father, and his family owned and operated farms and

 properties in the central regions of Colombia, in an area that was strategically located along the

 Defendants’ drug trafficking route. (FJ, ¶ 27.)

                 c.     The Caballero family’s property was strategically located and crucial to the

 Defendants’ drug trafficking route. Id.




                                                   2
Case 1:18-cv-25337-KMM Document 1 Entered on FLSD Docket 12/19/2018 Page 3 of 6




                  d.     ELN forces kidnapped Plaintiff’s father, Carlos Caballero, who was (among

 other things) the former Ambassador to the United Nations, and a leading politician and outspoken

 critic of narcotics traffickers in Colombia. The ELN with the FARC, abused and tortured the

 Ambassador over a period of approximately six months before brutally murdering him. (FJ, ¶¶ 6-

 7, 18, 27.)

                  e.     Defendants’ acts against Plaintiff and his father were done, in part, to send

 a message to other potentially uncooperative landowners in the region that resistance to (or failure

 to comply with) Defendants’ demands would not be tolerated and would result in them being

 targeted for kidnapping for ransom and/or assassination. (FJ, ¶ 28.)

                  f.     Defendants further threatened Plaintiff, forcing him to abandon the family

 farm and flee Colombia to the United States to seek refuge. (FJ, ¶ 23.)

                  g.     At all relevant times, Defendants and others, acted directly and in concert

 through aiding and abetting and a conspiracy, to effect the kidnapping, torture, and killing of

 Plaintiff’s father. (FJ, ¶ 27.)

                  h.     The claims made in the State Action, and the awards made in Final

 Judgment, are based on acts of terrorism within the meaning of Section 201 of TRIA. (FJ, p. 89.)

         6.      The Florida Court’s Final Judgment included the judicially awarded amounts as

 follows:

         a. $45,000,000.00 for actual compensatory damages for non-economic damages,
            including, without limitation, for emotional distress and for physical and
            psychological pain and suffering.

         b. $5,189,001.00 for trebled actual compensatory economic damages to Plaintiff
            for losses to his business and property.

         c. $140,189,001.00 for punitive damages, which is equal to three times the Court’s
            award of base actual compensatory damages.

         d. Prejudgment interest in the amount $1,055,483.56.

                                                   3
Case 1:18-cv-25337-KMM Document 1 Entered on FLSD Docket 12/19/2018 Page 4 of 6




 (FJ, pp. 90-91.)

        7.      The Final Judgment was not appealed, and the time for appeal has passed. Thus,

 the Final Judgment is res judicata and entitled to full faith and credit pursuant to 28 U.S.C. § 1738.1

        8.      Plaintiff in this action sues Defendants for damages pursuant to 18 U.S.C. § 2333

 of the ATA.

                                    JURISDICTION AND VENUE

        9.      This Court has jurisdiction pursuant to 18 U.S.C. § 2338, which provides for

 exclusive federal jurisdiction for ATA claims.

        10.         This Court has personal jurisdiction over the Defendants pursuant to Florida

 Statute § 48.193, because the Defendants, through their agents and representatives, transacted

 business in this State and caused injury in this State, by their criminal activity and operations

 trafficking millions of dollars of illicit drugs into Florida and the United States for distribution

 throughout the United States. (FJ, ¶¶ 2, 3, 27, 41, 42.) As found by the State Court, Defendants

 kidnapping and eventual assassination of Ambassador Caballero was a necessary component part

 of the Defendants’ overall criminal activity and scheme to traffic illicit drugs into South Florida

 and the United States for their profit and gain. (FJ, ¶ 27.) Defendants’ actions against the



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           The Final Judgment was collaterally attacked in post-judgment garnishment proceedings,
 which included attacks as to both the Florida Court’s personal jurisdiction over the Defendants
 and the Florida Court’s subject matter jurisdiction. The attacks on the Final Judgment were
 rejected by the trial court, which also entered a turnover judgment. The trial court’s rulings were
 affirmed (per curiam) on appeal by the Florida Third District Court of Appeal. For purposes of a
 full faith and credit analysis, "[i]t has long been the rule that principles res judicata apply to
 jurisdictional determinations -- both subject matter and personal." Thus, "'a judgment is entitled to
 full faith and credit -- even as to questions of jurisdiction -- when the second court's inquiry
 discloses that those questions have been fully and fairly litigated and finally decided in the court
 which rendered the original judgment.'" Weininger v. Castro, 462 F. Supp. 2d 457, 472 (S.D.N.Y.
 2006) (citations omitted). The Final Judgment was also domesticated in the District Court of Utah,
 case number 2:17-cv-00315-PMW.

                                                   4
Case 1:18-cv-25337-KMM Document 1 Entered on FLSD Docket 12/19/2018 Page 5 of 6




 Ambassador and Antonio Caballero were inextricably intertwined with, and a necessary

 component of, Defendants’ trafficking of illegal drugs into and throughout South Florida and the

 United States for their profit and gain. Id.

        11.     Venue is proper in this Court pursuant to 18 U.S.C. § 2334(a) because Plaintiff

 resides in Miami-Dade County, Florida.



                      COUNT I – CIVIL ACTION UNDER 18 U.S.C. § 2333

        12.     Paragraphs 1 through 11 are fully incorporated herein.

        13.     Defendants’ activities against the Ambassador and Plaintiff are acts of international

 terrorism because:

                (i) they involved acts which were violent or dangerous to human life that were

        violations of the criminal laws of the United States and the laws of Florida, and/or would

        be a criminal violation of the laws of the United States and the laws of Florida if committed

        within the jurisdiction of the United States and Florida;

                 (ii) they were intended to intimidate or coerce a civilian population, to wit:

        Plaintiff, his father and family, and other potentially uncooperative landowners in the

        region where Plaintiff’s family owned and operated farms and property; and

                (iii) they transcended national boundaries in terms of the means by which they were

        accomplished, and/or the locale in which the perpetrators operated. As stated above,

        Defendants’ activities of kidnapping, injuring and killing the Ambassador and threatening

        Plaintiff transcended national boundaries as the activities spanned the borders of both

        Colombia (e.g. the kidnapping, torture and murder of the Ambassador) and the United

        States (e.g. such actions were necessary components and inextricably intertwined with

        Defendants’ activities in trafficking illicit drugs into and throughout South Florida and the

                                                  5
Case 1:18-cv-25337-KMM Document 1 Entered on FLSD Docket 12/19/2018 Page 6 of 6




        United States).

        14.     Plaintiff, a national of the United States, was, and continues to be, injured in his

 person and property and business by reason of Defendants’ acts of international terrorism.

        WHEREFORE, Plaintiff demands judgment against the Defendants, individually and

 jointly and severally, for threefold damages, attorney’s fees, and interest, and such other relief as

 the Court deems warranted and just.

        Plaintiff demands a jury trial on all issue so triable.

        DATED this 19th day of December, 2018.

                                                Respectfully submitted,


                                                _/s/ Joseph I. Zumpano________
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